                       Case: 4:22-cv-00870-CDP Doc. #: 1-1 Filed: 08/22/22 Page: 1 of 1 PageID #: 9

          (Rev. 10/20)                                                                 CIVIL COVER SHEET
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         & Enforcement of Judi;ment                 Slander                             P~rscna !nj::ry                                                                                                     430 Banks and Banking.
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          (Excludes Vctc~ans)                  345 Marine Product                        Liatiility                                                                       840 Trademark                          Corrupt Organizations
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         of Veteran's Benefits
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                                                                                                                                          740 Railway Labor Act
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    220 Foreclosure                     441 Voting                                   463 Alien Detainee                                       Income Security Act     r:;1aJJJi2J:::i:;;;r~~cr~::::.tJ
    230 Rent Lease & Ejectmcnt          442 Employment                               510 Motions to Vacate                                                               870 Tuxes (U.S. Plaintiff
    240 To11s to Land                   443 Hou.sing/                                        Sentence                                                                        or Defendant)
    245 Tort Prolluct Liability             Accommod:itions                          530 Gonerul                                                                         871 IRS- T hird l'filty            899 Administrative Procedure
0   290 Alt Other Real Property         445 Amer, w/Disabilities -                   535 Death Penalty                                1---:-.==,,.....,.,,,,.=---r--          26 use 7609                       Act/Review or Appeal of
                                            l,1111,loymcnt                            Other:                                           _J 462 Naturalization Application                                        Agency Decision
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                                            Other                                     550 Civil Rights                                        Actions                                                           State Statutes
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 VI. CAUSE OF ACTION i=::
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 VII. REQUESTED IN    0 CHECK IF THIS IS A CLASS ACTION   DEMANDS                      CHECK YES only if demanded in complaint:
      COMPLAINT:         UNDER RULE 23, F.R.Cv.l'.                 H I 23L./ 7 0'-1    JURY DEMAND:         0Ycs ~No
 Vlll. RELATED CASE(S)
       IF ANY          (Sea ;n,;1ruc11011:.J:
                                                                                 JUDGE
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